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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              United States of America v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi           DATE:             12/9/2019

COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S MOTION TO
VIEW UNENCRYPTED HARD DRIVES AT THE FDC

       Before the Court is pro se Defendant Anthony T. Williams’s (“Defendant”)
“Motion to View Unencrypted Hard Drives at the FDC” (“Motion”), filed on
December 2, 2019. [Dkt. no. 687.] Defendant’s Motion is CONSTRUED as a motion for
reconsideration of: 1) the Court’s oral rulings, made on November 19, 2019, regarding
Defendant’s viewing of materials that cannot be brought into the Federal Detention
Center - Honolulu (“FDC Honolulu”); [Minutes, filed 11/19/19 (dkt. no. 647);] and 2) the
November 25, 2019 entering order (“EO”) setting for the procedures for Defendant to
review those materials at a location within either the Prince Jonah Kalanianaole Kuhio
Federal Building or the United States Courthouse, [dkt. no. 655]. The oral rulings and the
EO will be referred to collectively as the “Restricted Discovery Rulings.”

       The Court finds that: the Motion is suitable for disposition without a hearing
pursuant to Local Rule 7.1(d); and it is not necessary for Plaintiff the United States of
America (“the Government”) to file a response to the Motion. The standard applicable to
motions for reconsideration in this case has been set forth in multiple previous orders and
will not be repeated here. See, e.g., EO: Court Order Denying Def.’s “Motion in
Opposition to Order Denying Private Attorney General Anthony Williams Selective
Prosecution Motion,” filed 11/27/19 (dkt. no. 667), at 1-2 (quoting EO: Court Order
Denying Def.’s “Motion for Reconsideration of Court’s 8/21/18 Electronic Order Re:
‘United States’s Motion to Extend the Deadline to Respond to Defendant’s Motion to
Dismiss,’” filed 10/1/18 (dkt. no. 329), at 2.

        Defendant’s Motion essentially asks this Court to reconsider the Restricted
Discovery Rulings because he believes that the materials the Court has described as
restricted discovery are permitted to be brought into, and viewed at, FDC Honolulu.
Thus, Defendant argues he should not be required to be transported to the federal building
or courthouse to view the materials. Defendant’s stand-by counsel, Lars Isaacson, Esq.,
has represented that some of the materials contained on the hard drives at issue in the
Motion cannot be brought into FDC Honolulu because they are prohibited by Federal
Bureau of Prisons regulations. This Court has accepted Mr. Isaacson’s representations
and has made rulings establishing the manner in which Defendant is to view those
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materials. Defendant merely disagrees with the Court’s rulings, and his “[m]ere
disagreement with a previous order is an insufficient basis for reconsideration.” See
Order Denying Def.’s Motion for Reconsideration, filed 2/28/19 (dkt. no. 431), at 8
(citations and quotation marks omitted).

       In short, the law compels the Government to produce the restricted discovery to
Defendant. The law does not compel Defendant to review it. If Defendant wishes to give
up his review of the restricted discovery, nothing prevents him from doing so.

        Defendant’s Motion does not identify any newly available evidence or intervening
change in the law. Further, Defendant has not established any manifest error of law or
fact in the Restricted Discovery Rulings. Defendant’s Motion is therefore DENIED.

      IT IS SO ORDERED.



Submitted by: Agalelei Elkington, Courtroom Manager
